                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

ALVION PROPERTIES, INC., et al.                  )
                                                 )
              Plaintiffs                         )
                                                 )    Case No. 3:08-cv-866
v.                                               )
                                                 )
BERND H. WEBER, et al.                           )    JUDGE SHARP
                                                 )
            Defendants.                          )
______________________________________           )    MAGISTRATE JUDGE BRYANT
                                                 )
BERND H. WEBER et ano.,                          )
                                                 )    JURY DEMAND
              Counter-Plaintiffs,                )
                                                 )
v.                                               )
                                                 )
HAROLD M. REYNOLDS, et al.,                      )
                                                 )
              Counter-Defendants.                )

                  MEMORANDUM OF LAW IN SUPPORT OF
              AGREED MOTION TO DISMISS WITHOUT PREJUDICE
                  COUNTER-PLAINTIFFS’ CLAIMS AGAINST
                   FARMERS STATE BANK OF ALTO PASS,
             FARMERS STATE HOLDING CORP. AND BRAD HENSHAW

        Bernd H. Weber (“Weber”), Claude J. Chauveau (“Chauveau”), Farmers State Bank of

Alto Pass and Farmers State Holding Corp. (collectively “FSB”), and Brad Henshaw

(“Henshaw”), hereby file this Memorandum of Law in support of their Motion for this Court to

enter an order dismissing without prejudice all claims against FSB and Henshaw in this case.

The Court should grant this Motion, subject to the conditions set forth in the Motion, for the

reasons discussed below.




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                                          DISCUSSION

       Federal Rule of Civil Procedure 41(a)(2) provides that “an action may be dismissed at the

plaintiff's request . . . by court order, on terms that the court considers proper.” Pursuant to Rule

41(c), that provision also applies to the dismissal of a counterclaim. The purpose of Rule

41(a)(2) is to protect a defendant from unfair prejudice that could arise from a dismissal without

prejudice. Bridgeport Music, Inc. v. Universal-MCA Music Publ’g, Inc., 583 F.3d 948, 953 (6th

Cir. 2009) (citations omitted). Thus, “a Rule 41(a)(2) dismissal may be conditioned on whatever

terms the district court deems necessary to offset the prejudice the defendant may suffer from a

dismissal without prejudice.” Id. at 953-54 (citations omitted).

       The claims asserted by Weber and Chauveau against FSB and Henshaw have been

pending since November 4, 2010, and these parties have already engaged in a significant volume

of written discovery with respect to the Counterclaim. Weber and Chauveau desire to dismiss

their claims against FSB and Henshaw without prejudice at this time in order to narrow the scope

of the litigation and promote a more efficient resolution of the disputes with the remaining

parties. Further, Weber and Chauveau contend that further litigation against FSB and Henshaw

may be unnecessary depending on how the remaining claims are decided. FSB and Henshaw

have consented to the voluntary dismissal without prejudice of these claims, subject to certain

conditions, which are intended to protect FSB and Henshaw from any undue prejudice that could

result from the dismissal.

       First, the Court should order that if Weber and/or Chauveau ever seek to re-file their

claims against FSB and/or Henshaw (including any claims contained in the Counterclaim and

any other claims or allegations arising from the subject matter of this case), they must do so in

the United States District Court for the Middle District of Tennessee. This case has been

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pending for a considerable amount of time, numerous pleadings have been filed over the course

of the litigation, and a significant volume of written discovery has been completed. FSB and

Henshaw have retained counsel in Nashville, Tennessee, who have spent over a year working on

this case. It would be much more efficient and cost-effective for their Tennessee counsel to

continue defending the case in this venue if Weber and/or Chauveau ever sought to re-file their

claims. See Bentz v. Reed Elsevier, 2000 U.S. Dist. LEXIS 20370, *8-9 (S.D. Ohio Dec. 5,

2000) (copy attached) (it is reasonable to condition a dismissal without prejudice on requiring

that the plaintiff re-file any future case in the same district court); Pittsburgh Jaycees v. United

States Jaycees, 89 F.R.D. 166, 168 (W.D. Pa. 1981) (to same effect).

       Second, the Court should order that if Weber and/or Chauveau ever re-file any of their

claims against FSB and/or Henshaw, the discovery materials previously exchanged between the

parties in this case (including all written discovery and documents exchanged) can be used in any

such later proceedings as if such materials had been produced in the subsequent proceeding. The

second condition is similarly appropriate in order to protect FSB and Henshaw from undue

burden and expense. FSB and Henshaw have incurred significant costs associated with the

discovery that has already been completed.     If Weber and/or Chauveau choose to re-file these

claims, FSB and Henshaw should not be forced to expend additional time and resources to obtain

the same interrogatory responses and/or other materials they have already received during the

course of this litigation. Dodson v. DHI Mortg. Co., 2007 U.S. Dist. LEXIS 88131, *5 (E.D. Va.

Nov. 30, 2007) (copy attached) (“This Court will allow all depositions and discovery that have

already occurred in this case to be retained for use in any future case filed by Plaintiffs in this




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matter in order to obviate any prejudice”).1 Moreover, to the extent there remain any unresolved

discovery disputes between these parties at the time of dismissal, the parties should be permitted

to pick up where they left off in the event of a second suit and pursue prompt resolution of those

matters, rather than being required to duplicate the previous discovery efforts that were necessary

to frame the issues in dispute.

        Weber and Chauveau agree that these two conditions are appropriate and contend that the

Court should dismiss the claims against FSB and Henshaw subject to those terms.

                                              CONCLUSION

        For these reasons, the Court should grant this Motion and enter an order dismissing

without prejudice FSB and Henshaw from this action, subject to the conditions stated therein.

                                                    Respectfully submitted,



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  The parties agree that the ability to use discovery materials generated in this lawsuit for purposes of a later
proceeding would not limit the right of FSB and Henshaw to take depositions or conduct other discovery as
appropriate in such future proceeding.
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                                  CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing has been served, via the method(s) indicated

below, on the following parties and counsel of record, this the 27th day of February, 2012:

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